                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                   Plaintiff,                    )
                                                 )
      v.                                         )       Criminal Action No.
                                                 )       10-00073-03-CR-W-NKL
JAMES L. DICAPO,                                 )
                                                 )
                   Defendant.                    )

                           REPORT AND RECOMMENDATION
                        TO ACCEPT DEFENDANT’S GUILTY PLEA

       On July 27, 2010, I held a change-of-plea hearing after this case was referred to me by United

States District Judge Nanette Laughrey. I find that Defendant’s plea was voluntary and therefore

recommend that it be accepted.

                                       I. BACKGROUND

       On March 9, 2010, Defendant was indicted, inter alia, with one count of of conducting an

illegal gambling business, in violation of 18 U.S.C. §§ 1955 and 2. A change-of-plea hearing was

held on July 27, 2010. Defendant was present, represented by retained counsel Ronald Partee. The

government was represented by Assistant United States Attorney Jess Michaelsen. The proceedings

were recorded and a transcript of the hearing was filed on July 28, 2010 (Doc. No. 51).

                                II. AUTHORITY OF THE COURT

       The authority of federal magistrate judges to conduct proceedings is created and defined by

the Magistrates Act, 28 U.S.C. § 636. Besides certain enumerated duties, the Act provides that a

“magistrate may be assigned such additional duties as are not inconsistent with the Constitution and

the laws of the United States.” 28 U.S.C. § 636(b)(3).




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       The Eighth Circuit, following the reasoning of several other circuits, has held that magistrate

judges may preside over allocutions and pleas in felony cases, so long as certain procedural

safeguards are met. United States v. Torres, 258 F.3d 791, 795-96 (8th Cir. 2001); see also United

States v. Dees, 125 F.3d 261 (5th Cir. 1997), United States v. Williams, 23 F.3d 629 (2d Cir. 1994).

The reasoning applied by the appellate courts relies upon previous opinions by the United States

Supreme Court that conducting jury voir dire falls within a magistrate judge’s “additional duties”

when the defendant has consented. See Torres, 258 F.3d at 795 (citing Peretz v. United States, 501

U.S. 923 (1991); Gomez v. United States, 490 U.S. 858 (1989)).

       In Peretz, the Supreme Court held that when a defendant consents to a magistrate judge’s

involvement in voir dire, he waives any objection based on his right to have an Article III judge hear

his felony case. 501 U.S. at 936. Moreover, the availability of de novo review by a district judge

preserves the structural guarantees of Article III. Torres, 258 F.3d at 795. Applying the Peretz

holding and adopting the reasoning of Williams, the Eighth Circuit held that the acceptance of guilty

pleas bears adequate relationship to duties already assigned by the Magistrates Act in that “[a]n

allocution is an ordinary garden variety type of ministerial function that magistrate judges commonly

perform on a regular basis.” Id. (quoting Williams, 23 F.3d at 633). Plea allocutions are

substantially similar to evidentiary proceedings explicitly assigned by the Act. Id. at 796 (citing

Dees, 125 F.3d at 265). Even if taking a guilty plea were considered to be of greater importance than

those duties already assigned, the consent of the defendant saves the delegation. Id. “Consent is the

key.” Id. (quoting Williams, 23 F.3d at 633).

       The Torres court also addressed the implications of such a delegation for Article III’s case

and controversy clause. Id. Because plea proceedings are submitted to the district court for


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approval, the court retains ultimate control over the proceedings and is not bound to accept a plea

taken by a magistrate judge. Id. Moreover, the district court’s de novo review of the plea

proceedings contributes to the ministerial nature of the magistrate judge’s role. Id.

        Based on the above, I find that, with the consent of the defendant, the District Court may

properly refer a felony case to a Magistrate Judge for conducting a change-of-plea hearing and

issuing a report and recommendation on whether the plea should be accepted.

                                       III. FINDINGS OF FACT

        1.         The parties consented to the delegation of the change of plea to the magistrate judge

(Tr. at 4).

        2.         On March 9, 2010, an indictment was returned charging Defendant with, inter alia,

one count of conducting an illegal gambling business, in violation of 18 U.S.C. §§ 1955 and 2 (Tr.

at 4-6). Defendant indicated that he understood the nature of the charge (Tr. at 5-6).

        3.         The statutory penalty for this charge is not more than five years imprisonment, a fine

of up to $250,000, a supervised release term of not more than 3 years, and a $100 mandatory special

assessment fee (Tr. at 6). Defendant was informed of the penalty range and indicated that he

understood (Tr. at 6).

        4.         Defendant was advised of the following:

                   a.     That he has a right to a trial by jury of at least 12 individuals and that

        their verdict must be unanimous (Tr. at 6);

                   b.     That he has the right to assistance of counsel throughout the trial (Tr.

        at 6-7);

                   c.     That Defendant is presumed innocent, and the government has the


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       burden of coming forward to prove Defendant’s guilt beyond a reasonable doubt (Tr.

       at 7);

                d.      That Defendant’s attorney would have the opportunity to cross-

       examine the government’s witnesses (Tr. at 7);

                e.      That Defendant has the right to testify but does not have to, and that

       the jury could not make an adverse inference from the fact that Defendant may not

       testify at trial (Tr. at 7-8);

                f.      That Defendant has the right to subpoena witnesses to testify on his

       behalf (Tr. at 8); and

                g.      That Defendant has the right to appeal any conviction to the Eighth Circuit

       Court of Appeals (Tr. at 8).

       5.       Defendant was informed and understood that by pleading guilty, he was giving up all

of the rights described above (Tr. at 9).

       6.       Defendant was informed that during the change-of-plea proceeding, he would be

placed under oath and questioned by counsel and the judge (Tr. at 8-9).

       7.       Government counsel stated that if this case were to be tried, the government’s evidence

would be that between March 1, 2006 and March 31, 2009, Defendant conducted an illegal sports

bookmaking business that was operated in the Kansas City, Missouri, metropolitan area and

elsewhere (Tr. at 10). Defendant was involved in the bookmaking business with five or more

individuals (Tr. at 10).

       As part of the business, the bookmakers provided their bettors with the 1-800 toll-free number,

1-800-335-9003 (“bettor number”), as well as the website best24b.com (Tr. at 10). The bookmakers


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also provided their bettors with an account number and a password to use in order to place wagers

on sporting events; they could call the “bettor number” or access the website to place wagers (Tr. at

10). The bettors could also use their account number to access their wagering history or obtain other

account information (Tr. at 10). The bookmakers used a separate 1-800 number, 1-800-330-5667

(“bookmaker number”), as well as the website best24b.com to track their bettors’ activities and

account balances (Tr. at 10). The bookmakers had their own user name and password that they used

in order to access their bettor’s information and make changes to the bettor’s accounts, if necessary

(Tr. at 10).

        Both toll free 1-800 numbers were routed through Phoenix International Teleport Satellite

Service, Inc. to Elite Sports, which is located in Costa Rica (Tr. at 10-11). Elite Sports acted as a

virtual wire room for the illegal sports bookmaking operation, taking wagers from the bettors and

keeping electronic records of the bettors’ activities (Tr. at 11). Results were located on Elite Sports’

computer servers in Costa Rica (Tr. at 11). Elite Sports did not have in interest in the outcome of the

wagers, but instead charged the illegal sports bookmaking business a price per head for managing

each bettor’s account (Tr. at 11). Defendant would pay out or collect cash from persons or from the

bettors on a weekly basis (Tr. at 11). Defendant’s user name was “Sandy”; he was responsible for

multiple bettors who were located primarily in the Kansas City, Missouri area (Tr. at 11).

Specifically, Defendant was responsible for the betor account numbers RA1601 through RA1613, all

under the Agent Sandy account (Tr. at 11). The bettors under the Agent Sandy account wagered over

$1,217,428.03 during the course of the business (Tr. at 11). Bookmaters received a percentage of the

business’ winnings at the end of each particular sports betting season (Tr. at 11).

        8.     Defense counsel stated that he had reviewed the government’s file and felt comfortable


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recommending his client plead guilty (Tr. at 11-12).

        9.      Defendant was placed under oath (Tr. at 12). Defendant stated he believed the

Government had the above-described evidence (Tr. at 12). Specifically, Defendant stated he was part

of a gambling business that violated the gambling laws of Missouri (Tr. at 12). He was involved in

this gambling business from March 1, 2006 through April 1, 2009 (Tr. at 12). The business involved

five or more people who were engaged in managing, supervising and directing the business (Tr. at

12-13). Additionally, the business had been ongoing for more than thirty days and had a gross

revenue that exceeded $2,000 in any one day (Tr. at 13). Defendant’s function was to obtain bets and

channel them through the system (Tr. at 13). Approximately $1,200,000.00 was generated as a result

of this activity (Tr. at 13).

        10.     Defendant had reviewed the plea agreement with his attorney and stated he understood

the terms of the agreement (Tr. at 14). I also reviewed the terms of the plea agreement with

Defendant (Tr. at 14-18).

        11.     All promises made by the government were contained within the plea agreement

(Tr. at 18). No one had made any threats or any other promises in order to get Defendant to plead

guilty (Tr. at 18).

        12.     Defendant was satisfied with Mr. Partee’s performance (Tr. at 18). There is nothing

Defendant asked Mr. Partee to do that Mr. Partee did not do (Tr. at 19). Likewise, there is nothing

Mr. Partee has done that Defendant did not want him to do (Tr. at 18-19).

        13.     Defendant is 57 years old (Tr. at 19). He graduated from high school and completed

one year of college (Tr. at 19). Defendant has no physical or mental health concerns that would

prevent him from entering an intelligent and voluntary plea of guilty (Tr. at 19).


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         14.     Defendant tendered a plea of guilty to Count One of the Indictment (Tr. at 19-20).

                            V. ELEMENTS OF THE CHARGED OFFENSES

         The elements necessary to sustain a conviction for conducting an illegal gambling business

include: (1) the gambling business violates the law of the state in which it is conducted; (2) the

gambling business involves five or more persons who conduct, manage, supervise, or direct such

business; and (3) the gambling business has been in operation for more than thirty days or has a gross

revenue that exceeds two thousand dollars in any one day. U.S. v. Sutera, 933 F.2d 641, 645 (8th Cir.

1991).

                                          V. CONCLUSION

         Based on the above, I make the following conclusions:

         1.      The district court may lawfully refer this case to a magistrate judge for issuance of a

report and recommendation on whether Defendant’s guilty plea should be accepted.

         2.      Defendant consented to having his plea taken by a magistrate judge.

         3.      Defendant knowingly and voluntarily pleaded guilty to conduct establishing every

element of the crime charged in Count One of the Indictment.

         Therefore, it is

         RECOMMENDED that the court, after making an independent review of the record and the

applicable law, enter an order accepting Defendant’s guilty plea and adjudging Defendant guilty of

the offense charged.


                                                        /s/ Robert E. Larsen
                                                        ROBERT E. LARSEN
                                                        United States Magistrate Judge
Kansas City, Missouri
August 3, 2010

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